Case: 5:22-cv-01454-CEH Doc #: 1-6 Filed: 08/15/22 1 of 4. PagelD #: 24

EXHIBIT C
Case: 5:22-cv-01454-CEH Doc #: 1-6 Filed: 08/15/22 2 of 4. PagelD #: 25

W24:2021 Small - Order #1121 confirmed

N

d Grail Karl Forse <florce@ymalleom>

Order #1121 confirmed. see

i message

FPGA Land <noreply@fpgajand> ? June 2018 at 18:12
To: frsigoftrl net

FPGA Land ORDER #1721

Thank you for your purchase!

Hi Carl, we're getting your order ready to be shipped. We will notify you when it
has been sent.

or Visit our store

Order summary

¥CU1525 - Blockchain Edition (With Mods) x 4

1G $14,400.00

Subtotal $14,400.00
Shipping $130,64
Total $14,530.64 USD

Customer information

Shipping address Billing address

Cart Forseli Cari Forsell

8 St Martin's Dr 8 St Martin's Dr

#03-21 Si Martin Residence #03-21 St Martin Residence

Singapore 266005 Singapore 258005

Singapore Singapore

Shipping method Payment method

Worldwide Coinbase commerce — $44,530.64

https://mail google.com mail/u'Oik=B20865fd |R&view=pt&search=all &epernihids thread- F234 16026573402 10966923 & simipl=nisp-fFIA [6ST IAM2 1OGG69Z4 V2
Case: 5:22-cv-01454-CEH Doc #: 1-6 Filed: 08/15/22 3 of 4. PagelD #: 26

24202 Graail - Oatec #1 (21 confirmed

N

Ifyou have any questions reply to tris eral or contact us at noreply@ipga and

hi psfmail. google, consenail uts7k-R20N6 Std Racy tows ptdisearc hall & permthid=thrrad- [EA 1 OU 26573402 10906923 desi mpl nis g-PFAA 16026973402 10950924 22
Case: 5:22-cv-01454-CEH Doc #: 1-6 Filed: 08/15/22 4 of 4. PagelD #: 27

M2d2021 Onail - You just sent 24. 1477603) ETE te Us 7ISTAR HD Bacco) 79CdCR02C DOLECihabF4fo2

4 Gmail Karl Forsell <fforec@ymail.com>

You just sent 24.14776111 ETH to
0x775f{AB1EFB3cc6F79CdC85c02CD018CfbaD74f62

1 message

Coinhase <no-rapiy@coinbase,com> 7 dune 2018 at 18:11
To: frsl@eftrel nat

You just sent
24.14776117 ETH ($14,991.04 USD)

Congratulations! You have successfully sent 24,14776111 ETH to
Ox775fAB (EF B3ce6F79CdC B5c02CD0 18CibaD7 4162. You can view transaction details in
your Coinbase account. To facilitate this transaction, you paid 0.00021 ETH ($0.13 USD)
in network fees,

This withdrawal is being sent to an address {"Ox775{AB IEF B3ccGF79CdCB5c02CD0
18CfbaD7 4/62") thal you haven't previously used.

Beale commniitedt fe leyee tag Haid i “aCredtint actrvrty 18

YO Ge aes

| wish t disable sign-in for my Coinbase account

Uo Rs apr _
| veyepicele a re a

POE UGE ere ea La

ey rata

htips://mail. googie.con mail AW OFk=B2ORG Sd 18 dey iow= pl& search=alldpermthid=thread- (ESA 1026572624397 9R6 | Ksimplsmsp-1 EIA 1602657262439 7RORG1 uit
